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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                     Plaintiffs,                                   4:12CR3115

       vs.
                                                        MEMORANDUM AND ORDER
KENNETH ORIZ,

                     Defendant.


       The defendant has admitted that he violated the terms of his pretrial release and he has
entered a plea of guilty.

        There is a rebuttable presumption that no condition or combination of conditions of
release will reasonably assure the defendant’s appearance at court proceedings and the safety of
the community because the defendant admits he committed a drug crime under the Controlled
Substances Act (21 U.S.C. § 801 et seq.), for which the defendant could be required to serve ten
or more years in prison. The defendant has not rebutted this presumption.

       IT IS ORDERED:


       1)     The above-named defendant shall be detained pending sentencing.

       2)     The defendant is committed to the custody of the Attorney General for
              confinement in a corrections facility; the defendant shall be afforded reasonable
              opportunity for private consultation with counsel; and on order of a court of the
              United States, or on request of an attorney for the government, the person in
              charge of the facility shall deliver the defendant to a United States Marshal for
              appearance in connection with a court proceeding.

       December 21, 2012.

                                                   BY THE COURT:
                                                   s/ Cheryl R. Zwart
                                                   United States Magistrate Judge
